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United States sttrict Touri

 

 

MIDDLE DISTRI(:T OF ALABAMA
u~mzo srArc-:s oF msch coNsENT To PRo'cEED BEFoRE
- v. uNI'rED sTA'I'Es MAGISTRATEIN
KELLIY T. wARD A MISDEMEANOR CASE

CASE NUMBEFl: 2=06CR83'VPM

The United States magistrate has explained to me the nature of the offense(s) with which l am charged
and the maximum possible penalties which might be imposed if l am found guilty. The magistrate has informed
me of my right to the assistance of legal counsel. The magistrate has also informed me of my right to trial,
judgment, and sentencing before a United States district judge or a United States magistrate.

l HEREBY: Waive (give up) my right to_ trial, judgment, and sentencing before a United States
district judge and l consent to trial, j '
United States magistrate.

  

 

Defendant

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WAlVEFl OF FIIGHT TO TR|AL BY JURY

The magistrate has advised me of my right to trial by jury.

l HEREBY: Waive (give up) my right to trial by jury.

 

Defendant

 

Consented to by United States

Signature

 

Name and Tlt|e

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WA|VER OF R|GHT TO HAVE TH|RTY DAYS TO PREPARE FOR TFllAL

The magistrate has also advised me of my right to have at least thirty days to prepare for trial before the
magistrate.

_ l HEREBY: Waive (give up) my right to have at least thirty days to prepare for trial.

Defendant

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Approved By' ' `
Defendant's Attomey (lf any) U.S. Magistrate

 

 

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